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   ANTIONNE DE SHAUN BRODNAX
(AKA: Bugzie The Don) DOB:



             Defendant(s)




                            January 6, 2021


   Code Section                                       Offense Description
18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority,
18 U.S.C. § 1752(a)(2) - Disorderly conduct in any Restricted Building or Grounds,
40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.




                                                                    Complainant’s signature

                                                            Kenneth Shappee, Special Agent
                                                                     Printed name and title



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                                                                       Judge’s signature
                                                             Zia M. Faruqui
                                                                     Printed name and title
